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5                             UNITED STATES DISTRICT COURT
6                                        DISTRICT OF NEVADA
7                                                    ***
8    UNITED STATES OF AMERICA,                         )      Case No.: 2:12-CR-0004-APG-GWF
                                                       )
9                           Plaintiff,                 )
                                                       )      ORDER
10          vs.                                        )
                                                       )
11   DEFENDANT [1], et al.,                            )
                                                       )
12                          Defendants.                )
                                                       )
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            On October 18, 2013, the Government filed a Motion in Limine to Allow Expert Witness
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     Testimony [Dkt. #449]. No Opposition has been filed. The Court has considered the Motion on
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     its merits and finds that good cause exists to grant the motion in part. The proposed testimony
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     appears to be relevant, reliable, helpful to the jury, more probative than prejudicial, and based on
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     specialized knowledge and experience. The Government's Motion represents that FBI
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     Supervisory Special Agent Keith Mularski is appropriately qualified, but offers no resume,
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     affidavit or other evidence to support his qualifications. Agent Mularski will be permitted to
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     testify as an expert pursuant to Federal Rule of Evidence 702, so long as sufficient foundation is
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     offered at trial to qualify him as an expert.
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            DATED this 8th day of November, 2013.
24

25                                                         ____________________________________
                                                           ANDREW P. GORDON
26                                                         UNITED STATES DISTRICT JUDGE


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